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                        IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF NEW MEXICO

UNITED STATES OF NEW MEXICO,

               Plaintiff,

vs.                                                                         No. CR 19- 00764 JB

TONIANN SANDOVAL

               Defendant.
          MOTION TO WITHDRAW AND FOR SUBSTITUTION OF COUNSEL

       COMES NOW Martin Lopez III, P.C. (Martin Lopez, III), appointed counsel for Defendant

Toniann Sandoval, and pursuant to the Sixth Amendment of the United States Constitution and the

Criminal Justice Act, 18 U.S.C. § 3006 A, to respectfully request that this Honorable Court enter

an Order allowing undersigned counsel to withdraw from the representation of the Defendant and

substitute counsel from the Criminal Justice Act Panel, to represent the Defendant in all further

proceedings. As grounds the following is stated:

       1. Ms. Sandoval and two co-defendants have been charged in an Indictment filed on March

13, 2019 with Counts 1-3, 5: Felon in Possession of a Firearm in violation of 18 U.S.C. § 922(g)(1);

Counts 4, 6: Possession with Intent to Distribute 5 Grams and More of Methamphetamine in

violation of 21 U.S.C. §§ 841(a)(1) and (b)(1)(B) and Aiding and Abetting in violation of 18 U.S.C.

§ 2. The alleged acts took place in Curry County, in the District of New Mexico on or about

February 12, 2018. (Doc. No. 2). Ms. Sandoval was charged in Count 4 only.

       2. Undersigned counsel was appointed to represent the Defendant on April 11, 2019. (Doc.

13).

       3. Trial is presently scheduled for September 3, 2019. (Doc. No. 39). On August 21, 2019

undersigned counsel filed an Unopposed Motion to Continue Trial stating Defendants Sandoval and

Gibson are in negotiations with the Government and require additional time to complete plea terms.

(Doc. 45). Defendant Kosier entered his guilty plea the same day . (Doc. 50).

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       4. Appointed counsel addressed Ms. Sandoval’s concerns to the best of his ability. A very

beneficial plea offer was presented to Ms. Sandoval by the Government which was rejected. On

August 28, 2019 appointed counsel met with Ms. Sandoval to further discuss continuing negotiations

between appointed counsel and the Government. Rather than assure Ms. Sandoval of the progress

made to resolve her case, it now appears as if there has been a complete breakdown in the

communication between Ms. Sandoval and appointed counsel. Unfortunately, counsel’s efforts have

proven to be unsuccessful in resolving the conflict between Ms. Sandoval and appointed counsel.

Moreover, immediately after yesterday’s meeting with Ms. Sandoval she contacted CJA Resource

Counsel Marc Robert requesting new counsel. Undersigned counsel has no objection to Ms.

Sandoval’s request.

       5. Standards for the substitution of counsel are controlled by the Defendant’s constitutional

right to counsel which is protected by the Sixth Amendment of the Constitution. United States v.

Anderson, 189 F.3d 121, 1210 (10th Cir. 1999). To warrant a substitution of counsel, the defendant

must make a timely showing that good cause exists for the substitution of counsel based on an

irreconcilable conflict which could lead to any apparently unjust verdict. United States v. Lott, 310

F.3d 1231, 1249 (10th Cir. 2002).

       6. Although a strategic disagreement between a defendant and her attorney is insufficient

to demonstrate good cause for the substitution of counsel, substitution is nonetheless required when
there has been a total breakdown in communication between the defendant and her court appointed

counsel which prevents the preparation of an adequate defense. United States v. Lott, 310 F.3d

1231, 1249, citing United States v. Doe #1, 272 F.3d 116, 124 (2nd Cir. 2001), see also United States

v. Padilla, 819 F.2d 952, 955 (10th Cir. 1987).

       7. A complete breakdown in communication between an attorney and his client may give

rise to a presumption of prejudice. United States v. Cronic, 466 U.S. 648, 658 (1984). This is so

because a breakdown in communication between an attorney and his client can at times be so severe

and disabling that even the most able counsel can be prevented from providing effective assistance.

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United States v. Soto-Hernandez, 849 F.2d 1325, 1328 (10th Cir. 1988).

       8. . In this case there is, indeed, a complete breakdown in the attorney-client communication

between appointed counsel and Ms. Sandoval. Therefore, substitution of counsel is necessary in

order to safeguard Ms. Sandoval’s Sixth Amendment right to the effective assistance of court-

appointed counsel. It is apparent from Ms. Sandoval’s request for a substitution of counsel that

appointed counsel can no longer function as the diligent and conscientious advocate which the Sixth

Amendment demands.

       9. In addition, Ms. Sandoval’s request for substitution of counsel has created a conflict of

interest which requires the substitution of court-appointed counsel in order to safeguard Ms.

Sandoval’s interest at any evidentiary hearing on this Motion.

       10. Whenever the Defendant makes a sufficiently specific factual allegation in support of

her request for new counsel, the District Court must hold a hearing on the Defendant’s request.

United States v. Lott, supra, 310 F.3d at p. 1249. At this hearing the District Court should make a

formal inquiry into the reasons for the Defendant’s dissatisfaction with her present attorney. Ibid.

Such a hearing is necessary because the District Court must determine if there is a severe and

pervasive conflict between the Defendant and her appointed attorney which would justify the

substitution of counsel. Ibid, see also United States v. Anderson, supra 189 F.3d at 1210 (the

District Court is under a duty to make a formal inquiry into the reasons for the Defendant’s
dissatisfaction with her present attorney when substitution is requested.).

       11. Nevertheless, a hearing in which defense counsel is called to account for his performance

in the face of a defendant’s claim of dissatisfaction places defense counsel in an irreconcilable

conflict of interest between advocating his client’s interests by advancing her claims of

dissatisfaction and defending his own actions as a member of the bar and an officer of the court.

See, e.g., United States v. Daugerdas, 735 F.Supp.2d 113, 116 (S.D.N.Y. 2010) [no waiver of

conflict where attorney’s conflict jeopardizes the integrity of the judicial proceedings because of the

attorney’s own personal, financial or liberty interests].

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       12. As a result of the dispute between Ms. Sandoval and counsel, substitute counsel should

be appointed to represent Ms. Sandoval. Counsel respectfully submits that the failure to substitute

counsel in this case will violate Ms. Sandoval’s Sixth Amendment right to the effective assistance

of court appointed counsel with whom she is dissatisfied, with whom she will not cooperate, and

with whom she will not effectively communicate. If Ms. Sandoval is forced to proceed further to

a hearing to advance her claims of dissatisfaction with court-appointed counsel, she will also become

embroiled in an active conflict of interest with her own attorney because Ms. Sandoval’s court-

appointed counsel will face an irreconcilable conflict of interest between advocating Ms. Sandoval’s

stated interests in seeking a new attorney and defending counsel’s own actions on behalf of Ms.

Sandoval, thereby depriving Ms. Sandoval of the effective assistance of counsel at a hearing on the

Motion. Cf. United States v. Soto-Hernandez, supra, 849 F.3d at 1328, citing Brown v. Craven,

424 F.2d 1166, 1170 (9th Cir. 1970).

       13. Assistant U.S. Attorney Paul Mysliwiec, counsel of record for the United States, has been

informed of this Motion to Withdraw and for Substitution of Counsel and Mr. Mysliwiec represents

that the Government takes no position on the motion.

       WHEREFORE, for all of the foregoing reasons and due to an irreconcilable conflict of

interest, appointed counsel for Ms. Sandoval respectfully requests that this Honorable Court allow

his withdrawal and substitute counsel..

                                                      Respectfully submitted,
                                                      MARTIN LOPEZ, III
                                                      A Professional Corporation


                                                      Electronically filed August 29, 2019
                                                      Martin Lopez, III
                                                      Attorney for Defendant Sandoval
                                                      1500 Mountain Rd. N. W.
                                                      Albuquerque, New Mexico 87104
                                                      Tele: (505) 243-2900




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                                CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on the 29th of August, 2019, I filed the foregoing pleading
electronically through the CM/ECF system, which caused the following counsel to be served by
electronic means, as more fully reflected on the CM/ECF electronic filing to the Government to:

Paul Mysliwiec, AUSA
E-Mail: paul.mysliwiec@usdoj.gov

        I FURTHER CERTIFY that on this 29th day of August, 2019 I also served a true and
correct copy of the foregoing Defendant’s Motion to Withdraw and for Substitution of Counsel on
Defendant Toniann Sandoval by U.S. Mail addressed as follows:

Toniann Sandoval
Cibola County Correctional Center
P.O. Box 3540
Milan, New Mexico 87021



/s/ Martin Lopez, III (Electronically filed August 29, 2019)
Martin Lopez, III,
Attorney for Defendant Sandoval




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